Case 1:17-cv-02889-GLR Document 10 Filed 01/12/18 Page 1 of9

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
BALTIMORE DIVISION

 

U.S. Equal Employment
Opportunity Commission,

Plaintiff,
Civil Action No. 1:17-cv-02889-GLR
Vv.

Volvo Group North America, LLC,

Defendant.

I

 

CONSENT DECREE

This action was instituted by Plaintiff, Equal Employment Opportunity Commission (the
“EEOC” or the “Commission”), against Defendant, Volvo Group North America, LLC (“Defendant” or
“Volvo”) alleging that Defendant unlawfully discriminated against Michael Files when it failed to hire
him because he is a recovering drug addict in a medication-assisted treatment program, in violation of
Sections 102(a) of the Americans with Disabilities Act (“the ADA”) of 1990, as amended through the
Americans with Disabilities Amendments Act of 2008, 42 U.S.C. § 12112(a).

The parties desire to resolve this action without the time and expense of continued litigation, and
to formulate a plan to be embodied in a Decree, which will promote and effectuate the purposes of the
ADA. Nothing in this Decree shall be construed as an admission of wrongdoing or liability by Volvo or
any of its owners or employees.

The Court has examined this Decree and finds that it is reasonable and just and in accordance
with the Federal Rules of Civil Procedure and the ADA. Therefore, upon due consideration of the

pleadings and the record as a whole, it is ORDERED, ADJUDGED AND DECREED:
Case 1:17-cv-02889-GLR Document 10 Filed 01/12/18 Page 2 of 9
Case 1:17-cv-02889-GLR Document9 Filed 01/11/18 Page 2 of 9

Scope of Decree

l. This Decree resolves all issues and claims in the Complaint filed by the Commission in
this ADA action which emanated from the Charge of Discrimination filed by Michael Files. This
Decree in no way affects the Commission’s right to process any other pending or future charges that
may be filed against Defendant and to commence civil actions on any such charges as the Commission
sees fit.

Z. This Decree shall be in effect for a period of three (3) years from the date it is entered by
the Court. During that time, this Court shall retain jurisdiction over this matter and the parties for
purposes of enforcing compliance with the Decree, including issuing such orders as may be required to
effectuate the purposes of the Decree.

3. This Decree, being entered with the consent of Plaintiff and Defendant, shall not
constitute an adjudication or finding on the merits of the case.

Relief to Michael Files

4, Within thirty (30) business days of entry of this Decree, Defendant shall pay Michael
Files monetary relief in the total amount of $70,000, representing $50,821.05 in back pay plus interest
and $19,178.95, in compensatory damages. Defendant shall administer proper withholdings from the
back pay portion for taxes and required employee contributions for FICA and Medicare. No employee
taxes shall be withheld from the portion of the payment representing compensatory damages. The
checks will be sent directly to Files at an address to be provided by the Commission, and a photocopy of
the checks and related correspondence will be mailed to Trial Attorney Chioma Chukwu in accordance
with Paragraph 18 below. Defendant will issue to Files an IRS Form 1099 for the 2018 tax year for the

compensatory damages amounts paid to him and a Form W-2 for the back pay paid to him. Files shall
Case 1:17-cv-02889-GLR Document 10 Filed 01/12/18 Page 3 of 9
Case 1:17-cv-02889-GLR Document9 Filed 01/11/18 Page 3 of 9

supply Defendant with all required tax forms, including but not limited to a completed Form W-4 and

Form W-9.
Injunctive Relief
5. Defendant, its officers, agents, servants, employees and all persons acting or claiming to

act on its behalf and interest are hereby enjoined from denying employment opportunities to qualified
individuals with disabilities and violating the provisions of Title I of the ADA, including the following
provision:
No covered entity shall discriminate against a qualified individual on the basis of
disability in regard to job application procedures, the hiring . . . and other terms,
conditions, and privileges of employment.
ADA, Title I, Section 102(a). Specifically, Defendant shall not refuse to hire or otherwise exclude or
disqualify any applicant from employment with Defendant based on an applicant’s use of prescription
medications so long as the applicant demonstrates that he or she: (a) has a valid prescription for such
medication; (b) uses the medication as directed by his or her physician or other healthcare professional,
and (c) does not pose a threat to his or her own safety or the safety of others as a result of using the
prescribed medication and is otherwise qualified for the role. To the extent Defendant suspects that an
applicant’s lawful use of prescription medication may pose a threat to the applicant or others in the
workplace, Defendant will assess, through the ADA’s interactive process, the extent to which that threat
constitutes a “direct threat” as defined under the ADA and, if so, whether any available reasonable
accommodations would reduce the safety risk to an acceptable level.
Written Policies & Procedures
6. Within sixty (60) business days from the entry of this Decree, Defendant shall (i)
implement and disseminate to all employees at its Hagerstown plant located at 13302 Pennsylvania

Avenue Hagerstown, MD 21742 (the “Hagerstown Facility”) an ADA-specifie policy, which explains
Case 1:17-cv-02889-GLR Document 10 Filed 01/12/18 Page 4 of 9
Case 1:17-cv-02889-GLR Document9 Filed 01/11/18 Page 4 of 9

the rights and responsibilities of employers and individuals with disabilities, including applicants and
employees, regarding reasonable accommodation and undue hardship. The policy shall further explain
Defendant’s duty to engage in the interactive process with qualified applicants and employees and
identify examples of reasonable accommodations to ensure that Defendant provides reasonable
accommodations for employees with disabilities when required by the ADA; (ii) publicize the new
policy to all present and future employees of its Hagerstown Facility; and (iii) adhere to the new policy.
7. Within sixty (60) business days from the entry of this Decree, Defendant shall amend the
Employment Policy - Post Offer Medical and Drug Evaluation applicable to its Hagerstown Facility to
explain that to the extent it suspects that an applicant’s or employee’s lawful use of prescription
medication may pose a threat to the applicant, employee, or others in the workplace, Defendant will
assess, through the ADA’s interactive process, the extent to which that threat constitutes a direct threat
as defined under the ADA and, if so, whether any available reasonable accommodations would reduce
the safety risk to an acceptable level. Within the same period, Defendant shall distribute its amended
Employment Policy - Post Offer Medical and Drug Evaluation to all current employees of its
Hagerstown Facility.
Reminder Regarding Substance Abuse Policy & Lawfully Prescribed Medications
8. Within sixty (60) business days from the entry of this Decree, Defendant shall publish an
internal communication to all employees and agents of Defendant at its Hagerstown Facility who are
directly responsible for conducting or reviewing pre-employment drug screening and physical
examinations (including Medical Review Officers) reminding those employees that, under Defendant's
Employment Policy - Post Offer Medical and Drug Evaluation: (1) applicants and/or employees shall
not be excluded from employment simply by virtue of testing positive for a lawfully prescribed

medication (including suboxone) or their participation in a treatment program involving the use of
Case 1:17-cv-02889-GLR Document 10 Filed 01/12/18 Page 5 of9
Case 1:17-cv-02889-GLR Document9 Filed 01/11/18 Page 5 of 9

lawfully prescribed medication; and (2) to the extent Defendant suspects that an applicant’s or
employee’s lawful use of prescription medication may pose a threat to the applicant/employee or others
in the workplace, Defendant will assess, through the ADA’s interactive process, the extent to which that
threat constitutes a “direct threat” as defined under the ADA and, if so, whether any available reasonable
accommodations would reduce the safety risk to an acceptable level.

9. Within thirty (30) business days of such publication, Defendant shall provide certification
by U.S. mail or e-mail to Trial Attorney Chioma Chukwu, in accordance with Paragraph 18 below that
the reminder was distributed.

Anti-Discrimination Training

10. Within ninety (90) business days from the entry of this Decree, Defendant shall conduct
live interactive training on the ADA, and the policies identified in Paragraphs 6 and 7, with particular
focus on the requirements and prohibitions of the ADA as it relates to drug screening and the use of

lawfully prescribed medications. The training shall include the following:

a. An explanation of the employer’s obligation to conduct an individualized
assessment in determining whether an applicant or employee is disabled under
the ADA;

b. A list of appropriate methods for determining whether an applicant or

employee poses a direct threat as defined by the ADA, including but not limited
to the use of medical and vocational rehabilitation expertise and opinions; and

c. An explanation of the employer’s obligation to engage in the interactive process
under the ADA.

This training shall be provided to all existing employees of its Hagerstown Facility who are
responsible for, or involved in, the pre-employment drug screening and/or physical examination process,
as well as any human resources and/or legal department employees of its Hagerstown Facility
responsible for or involved in providing internal guidance on pre-employment drug screening and/or

physical examination processes for the same. The training shall be conducted by a qualified individual
Case 1:17-cv-02889-GLR Document 10 Filed 01/12/18 Page 6 of 9
Case 1:17-cv-02889-GLR Document9 Filed 01/11/18 Page 6 of 9

with experience with laws prohibiting employment discrimination on the bases described in this
Paragraph, subject to the approval of the EEOC.

11. At least ten (10) business days prior to the commencement of the training session
prescribed in Paragraph 10 above, Defendant shall provide Trial Attorney Chioma Chukwu with a copy
of the training’s agenda, in accordance with Paragraph 18 below.

12. During the period of the Consent Decree, Defendant shall, within sixty (60) calendar days
of hire, provide training described in Paragraph 10 of this Decree, for all new Hagerstown Facility
human resources employees who are involved in or responsible for reviewing drug screening and/or
physical examinations, as part of its onboarding and training process. Such training may be
accomplished by having new employees review video of the live training presentation prescribed in
Paragraph 10 above.

13. | Within ten (10) calendar days from the date of training prescribed in Paragraph 10 above,
Defendant shall certify to the Commission that it has trained employees in accordance with Paragraph
10. In years two (2) and three (3) of the Consent Decree, Defendant shall certify to the Commission on
an annual basis that it has trained employees at its Hagerstown Facility in accordance with Paragraph 12
above.

Notice and Postings
14. | Within ten (10) business days of entry of this Decree, Defendant will post and cause to
remain posted the posters required to be displayed in the Hagerstown Facility by Commission
Regulations, 29 C.F.R. § 1601.30, in all places where notices to employees customarily are posted at its
facilities,
15. Within ten (10) business days of entry of this Decree, Defendant will post in all places

where notices to employees customarily are posted in the Hagerstown Facility, Exhibit A (“Notice to
Case 1:17-cv-02889-GLR Document 10 Filed 01/12/18 Page 7 of 9
Case 1:17-cv-02889-GLR Document9 Filed 01/11/18 Page 7 of 9

Employees”). This Exhibit shall be posted and maintained for the duration of the Decree and shall also
be signed by an officer of Defendant, with the date of actual posting shown thereon. Should the Exhibit
become defaced, marred, or otherwise made unreadable, Defendant will ensure that new readable copies
of the Exhibits are posted in the same manner as heretofore specified. Within fifteen (15) business days
of approval of this Decree, Defendant shall forward to the Commission’s Baltimore Field Office a copy
of the signed Notice (Exhibit A) and written certification that all Exhibits have been posted and a
statement of the location(s) and date of posting.
Monitoring Provisions

16. Beginning six (6) months after entry of this Decree, and on a biannual basis thereafter
during the three year Consent Decree time period, Defendant shall submit to the Commission a letter
stating whether it has denied employment to any applicant based on their participation in a medication-
assisted treatment and/or a supervised drug rehabilitation program, and/or who tested positive for
suboxone and/or any other addiction treatment medication during the pre-employment drug screening
and/or physical process. Should there be such applicants and the Commission requests additional
information concerning their non-hire, consistent with paragraph 17, Defendant shall provide the
Commission reasonable access to relevant records upon reasonable notice.

17. The EEOC may monitor compliance during the duration of this Decree by inspection of
Defendant’s premises and records, and through interviews with employees of Defendant at reasonable
times with reasonable prior notice to the Defendant and its counsel and at a time mutually agreed upon
by the Parties. Upon ten (10) calendar days’ written notice by the Commission, Defendant shall provide
the Commission reasonable access to its Hagerstown facility's non-privileged records and employees.

18. All materials required by this Decree shall be mailed or emailed to:

Equal Employment Opportunity Commission
Baltimore Field Office
Case 1:17-cv-02889-GLR Document 10 Filed 01/12/18 Page 8 of 9
Case 1:17-cv-02889-GLR Document9 Filed 01/11/18 Page 8 of 9

Attention: Chioma Chukwu, Trial Attorney
31 Hopkins P1., 14" FI.
Baltimore, Maryland 21201
Chioma.chukwu(@eeoc.gov

be sent.

or such other employee as the Commission shall subsequently advise Defendant that such materials shall

19, | The Commission and Defendant shall bear their own costs and attorneys’ fees.

20. | The undersigned counsel of record in the above-captioned action hereby consent, on

Respectfully submitted,

FOR PLAINTIFF:

/s/ Debra Lawrence
Debra M, Lawrence
Regional Attorney

/s/ Maria Salacuse
Maria Salacuse (Bar No. 15562)
Supervisory Trial Attorney

/s/ Chioma Chukwu
Chioma Chukwu
Trial Attorney

EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION
Baltimore Field Office

31 Hopkins Pl., 14" FI.
Baltimore, Maryland 21201

Counsel for Plaintiff Equal Employment
Opportunity Commission

behalf of its respective clients, to the entry of the foregoing Consent Decree.

Respectfully submitted,

FOR DEFENDANT:

/s/_ Stephanie Baron

Suzzanne Decker

Stephanie Baron

MILES & STOCKBRIDGE PC
100 Light St.

Baltimore, MD 21202

Phone (410) 385-3463
sbaron@milesstockbridge.com

Counsel for Defendant Volvo Group
North America, LLC

(Signed by Chioma Chukwu with
permission of Stephanie Baron)
Case 1:17-cv-02889-GLR Document 10 Filed 01/12/18 Page 9 of 9
Case 1:17-cv-02889-GLR Document9 Filed 01/11/18 Page 9 of 9

SO ORDERED.

he
Signed and entered this /e2 day of JANUAR V, 2018.

free. ¢ evel? O

George L. Russell, ill
United States District Judge

 
